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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
X
Hernandez et al.,
Plaintiffs, : 1:15-cv-01338 (ALC)
-against- : ORDER
The Fresh Diet Inc. et al.,
Defendants.
X

 

ANDREW L. CARTER, JR., United States District Judge:

The Court is in receipt of Plaintiffs’ letter, requesting that the pre-motion conference
requested in Defendant lnnovative Food Holdings, lnc. January 8, 2018 letter be postponed so
that The Harman Firm, LLP (the “Firm”), counsel for Plaintiffs, may move to withdraw as
counsel for Plaintiffs Dardaine and Rodriguez and_if the Firm’s motion to withdraw is
granted_to allow those individuals the opportunity to find new counsel. The Court will allow
the Firm to move for withdrawal as counsel to those plaintiffs; however, the Court will not
postpone the conference to allow those plaintiffs an opportunity to find new counsel.

Accordingly, it is HEREBY ORDERED that the Firm’s motion for withdrawal is due on

January 25, 2018, a week from the date of this order.

80 ORDERED. Jn,/Z/m, 7 £/&-'Q/

Dated: January 18, 2018
NeW York, New York ANDREW L. CARTER, JR.
United States District Judge

 

 

